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DISTRICT OF DELAWARE
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      24-12480

      Franchise Group, Inc. and Freedom VCM, Inc.




      Case Type :                       bk
      Case Number :                     24-12480
      Case Title :                      Franchise Group, Inc. and Freedom VCM, Inc.
      Courtroom :                       5th Floor Courtroom 5, Wilmington, DE
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